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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


    JOHN AND JANE DOES 1-9, et al.,

                            Plaintiffs,                         Case No. 25-cv-325 (JMC)

          v.

    DEPARTMENT OF JUSTICE,

                            Defendant.


    FEDERAL BUREAU OF INVESTIGATION
    AGENTS ASSOCIATION, et al.,

                            Plaintiffs,                         Case No. 25-cv-328 (JMC)

          v.

    DEPARTMENT OF JUSTICE, et al.,

                            Defendants.

                                        MEMORANDUM OPINION

         Federal Bureau of Investigation (FBI) agents who worked on January 6 investigations,

along with the FBI Agents Association (FBIAA), sue to enjoin Defendants from disclosing agents’

personal identifying information and retaliating against them in violation of the First Amendment.

ECF 24.1 Defendants move to dismiss for lack of subject matter jurisdiction and failure to state a

claim. ECF 28. Plaintiffs’ claims are too speculative. They do not plausibly allege that Defendants




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  Unless otherwise indicated, the formatting of citations has been modified throughout this opinion, for example, by
omitting internal quotation marks, emphases, citations, and alterations and by altering capitalization. All pincites to
documents filed on the docket in this case are to the automatically generated ECF Page ID number that appears at the
top of each page. ECF cites in this opinion refer to docket numbers in Case No. 25-cv-325, the lead case, unless
otherwise indicated.

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are about to engage in any of the conduct agents are worried about. Accordingly, Plaintiffs lack

standing, and the Court GRANTS Defendants’ motion to dismiss.

       Plaintiffs filed these cases in a whirlwind of chaos and fear. Department of Justice (DOJ)

leadership demanded the names of FBI agents who worked on January 6 cases. See ECF 25-6. The

FBI refused. See id. Things escalated quickly. The DOJ fired eight FBI officials for purported

“weaponization.” See ECF 25-5. Agents were required to complete a survey identifying whether

and in what capacity they worked on January 6 investigations. ECF 24 ¶¶ 68–69. And some former

January 6 defendants, now pardoned and at large, called for FBI agents to be doxed (or worse). Id.

¶¶ 42–56. Agents raced to court, terrified that they would be at real risk of physical harm if their

identities were somehow made public. See ECF 3; FBIAA v. DOJ, No. 25-cv-328, ECF 2

(D.D.C. Feb. 4, 2025). The parties submitted a consent order under which Defendants confirmed

that they would not publicly disclose the list of agents who worked on January 6 cases while the

parties briefed motions. See ECF 14.

       Since then, the dust has settled some—and this case has evolved. Defendants moved to

dismiss. ECF 28. The Court ordered expedited jurisdictional discovery to cut through the chaos

and allow Plaintiffs to shore up their standing allegations before the Court resolved Defendants’

motion. ECF 38. That discovery revealed no evidence that Defendants are on the verge of

disclosing Plaintiffs’ identities, see ECF 45-1, nor have Plaintiffs plausibly alleged that such a

disclosure is imminent. The Court must therefore dismiss Plaintiffs’ disclosure-related claims

(Counts I–IV and VI) because Plaintiffs have not established that they have standing to bring them.

       That leaves Counts V and VII, Plaintiffs’ First Amendment retaliation claims. In their

briefs, Plaintiffs contend that Defendants are conducting an internal investigation of FBI agents

who worked on January 6 cases solely because Defendants believe that they are not loyal to the



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current administration. See ECF 35 at 29; ECF 37 at 18–20. Plaintiffs further argue that the mere

fact of being placed under investigation adversely impacts their careers. See ECF 35 at 29; ECF 37

at 18–20. But the Court cannot assess that claim—because it is nowhere in the amended complaint.

The amended complaint alleges only that “anticipated” employment actions, ECF 24 at 2, like

terminations or other unspecified future “adverse actions,” id. at 29, would violate the First

Amendment. See, e.g., id. ¶¶ 85–86, 88, 90, 120, 127. Plaintiffs lack standing to challenge such

hypothetical, contingent actions. And Plaintiffs cannot amend their complaint via their briefs. The

Court must therefore dismiss their First Amendment claims too.

I.      BACKGROUND

        The Court draws these factual allegations from Plaintiffs’ amended complaint. ECF 24.

Where facts may be relevant to standing, the Court also considers the limited record before it:

Plaintiffs’ documentary evidence appended to their motion for preliminary injunction, see ECF 25,

Defendants’ responses to Plaintiffs’ jurisdictional discovery requests, see ECF 45, and Plaintiffs’

subsequent filings alerting the Court to new factual developments, see ECF Nos. 51–53; Settles v.

U.S. Parole Comm’n, 429 F.3d 1098, 1107 (D.C. Cir. 2005) (holding that courts may consider

“facts developed in the record beyond the complaint” to assess standing).

        On January 6, 2021, “an angry mob stormed the United States Capitol seeking to prevent

Congress from fulfilling its constitutional duty to certify the electoral votes in the 2020 Presidential

election.” Fischer v. United States, 603 U.S. 480, 498 (2024) (Jackson, J., concurring). FBI agents

from across the country were called upon to aid DOJ’s subsequent investigation into the events of

that day. ECF 24 ¶¶ 27, 30. They gathered evidence, executed search warrants, and testified before

grand juries. Id. ¶¶ 28–30. Ultimately, DOJ charged nearly 1,600 individuals with criminal activity




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related to January 6. Id. ¶ 39. Of the approximately 261 defendants who opted to go to trial, 257

were convicted. Id.

       Four years later, on January 20, 2025, President Donald Trump pardoned or commuted the

sentence of every January 6 defendant. Id. ¶ 42; see Proclamation No. 10887, 90 Fed. Reg. 8331

(Jan. 20, 2025). That same day, the President issued Executive Order (EO) 14147, entitled “Ending

the Weaponization of the Federal Government.” ECF 24 ¶¶ 62–63; see Exec. Order. No. 14147,

90 Fed. Reg. 8235 (Jan. 20, 2025). The EO stated that the prior administration “had engaged in an

unprecedented third-world weaponization of prosecutorial power to upend the democratic

process,” including “ruthlessly prosecut[ing] more than 1,500 individuals associated with

January 6, and simultaneously dropp[ing] nearly all cases against BLM rioters.” Exec. Order.

No. 14147, 90 Fed. Reg. 8235. The EO directed the Attorney General to “review the activities” of

certain agencies (including DOJ, of which FBI is a component), “identify any instances where a

department’s or agency’s conduct appears to have been contrary to the purposes and policies of

this order,” and recommend remedial actions to the President. Id.

       On January 31, 2025, Acting Deputy Attorney General (A/DAG) Emil Bove issued a memo

entitled “Terminations,” ordering the Acting Director of the FBI to fire eight named FBI officials.

ECF 24 ¶ 65; see ECF 25-5 (Terminations Memo). The memo (quoting EO 14147) stated that the

prior administration had engaged in a “systemic campaign against its perceived political

opponents, weaponizing the legal force of numerous Federal law enforcement agencies,” including

the FBI. ECF 25-5 at 2. Per the memo, the FBI “actively participated in what President Trump

appropriately described as ‘a grave national injustice that has been perpetrated upon the American

people over the last four years’ with respect to events that occurred at or near the United States




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Capitol on January 6, 2021.”2 Id. Bove stated that he “d[id] not believe that the current leadership

of the Justice Department can trust these FBI employees to assist in implementing the President’s

agenda faithfully,” and “deem[ed] these terminations necessary, pursuant to President Trump’s

[EO 14147].” Id. The memo listed eight FBI officials by name and directed that they be terminated.

Id. at 3. It closed with the following directive to the Acting FBI Director:

                 You are also directed to identify to the Office of the Deputy
                 Attorney General, by noon on February 4, 2025, all current and
                 former FBI personnel assigned at any time to investigations and/or
                 prosecutions relating to (1) events that occurred at or near the United
                 States Capitol on January 6, 2021; and (2) United States v. Haniyeh,
                 et al., 24 Mag. 438 (S.D.N.Y.). These lists should include relevant
                 supervisory personnel in FBI regional offices and field divisions, as
                 well as at FBI headquarters. For each employee included in the list,
                 provide the current title, office to which the person is assigned, role
                 in the investigation or prosecution, and date of last activity relating
                 to the investigation or prosecution. Upon timely receipt of the
                 requested information, the Office of the Deputy Attorney General
                 will commence a review process to determine whether any
                 additional personnel actions are necessary.
Id.




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  At a hearing on the parties’ motions, the Court asked the government what it believes went wrong with the FBI’s
January 6 investigations. See Apr. 30, 2025 Hr’g Rough Tr. 31:16–33:9. Having presided over many January 6 cases—
including cases in which defendants admitted under oath that they violently assaulted police officers and damaged
property on the U.S. Capitol grounds—the Court legitimately wanted to understand what “grave national injustice”
the FBI “perpetrated upon the American people” while investigating the events of January 6. Exec. Order. No. 14147,
90 Fed. Reg. 8235; see, e.g., United States v. Bonawitz, No. 23-cr-55, ECF 26 ¶¶ 12–13, 16–18, 22 (D.D.C. Aug. 17,
2023) (admitting to assaulting at least eight MPD officers, including tackling one officer to the ground and placing
another “in a chokehold”); United States v. Miles, No. 22-cr-136, ECF 52 ¶¶ 13, 18–20 (D.D.C. Oct. 19, 2023)
(admitting to “shov[ing] and attempt[ing] to punch officers,” and “smash[ing] [a] window” with a wooden board in
order to break into the Capitol building). (The EO’s only supporting example—a reference to that fact that January 6
defendants were prosecuted while charges against other “rioters” were dismissed—has nothing to do with the FBI
which, at least as far as the Court has always understood, does not decide which cases to prosecute or dismiss. See
Exec. Order. No. 14147, 90 Fed. Reg. 8235.) So, the Court asked the government what, exactly, it is investigating—
“what was so wrong with that [January 6 investigation] process”? Apr. 30, 2025 Hr’g Rough Tr. 31:16–31:21. Did
the government receive information that FBI agents were doctoring evidence? Id. at 32:13–32:14. Fabricating charges
against innocent people? Id. at 32:14–32:15. Did agents otherwise go rogue in their investigations? Id. at 33:2–33:5.
Apparently not. The government could not provide answers to the Court’s questions. Instead, Defendants represented
that the very purpose of the internal review process is to figure out what (or whether any) improper conduct may have
occurred. Id. at 33:10–33:12. So, as the Court understands it, Defendants are investigating to determine whether FBI
agents may have done anything worth investigating.

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       On Sunday, February 2, Defendants ordered certain FBI agents, including some of the

Plaintiffs in this case, “to answer a questionnaire about their work on cases related to the events of

January 6, 2021,” and to do so by 3:00 p.m. the following day. ECF 24 ¶ 68. The survey was titled

“A/DAG Memo Response: Events that Occurred at or Near the US Capitol on January 6, 2021,”

and required recipients to answer the following questions:

               1. Are you submitting this form for yourself or on behalf of your
               employee?
               2. What is your current title?
               3. Are you currently a supervisor?
               4. Are you currently an ASAC or SSIA?
               5. Are you currently an SES employee (e.g., SAC, Section Chief,
               DAD, AD, etc…)?
               6. What was your title when you participated in investigation(s) or
               prosecution(s) of events that occurred at or near the US Capitol on
               January 6, 2021?
               7. Were you a supervisor when you participated in investigation(s)
               or prosecution(s) of events that occurred at or near the US Capitol
               on January 6, 2021?
               8. Were you an ASAC or SSIA when you participated in
               investigation(s) or prosecution(s) of events that occurred at or near
               the US Capitol on January 6, 2021?
               9. Were you an SES employee when you participated in
               investigation(s) or prosecution(s) of events that occurred at or near
               the US Capitol on January 6, 2021?
               10. What division are you currently in? (The drop-down menu is
               sorted first by Field Offices, Legal Offices, then HQ divisions, and
               then in alphabetical order by the division’s 2-character code).
               11. What division were you in when you participated in
               investigation(s) or prosecution(s) of events that occurred at or near
               the US Capitol on January 6, 2021?
               12. What was your role in the investigation(s) or prosecution(s)
               relating to events that occurred at or near the US Capitol on January
               6, 2021?



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                  13. What was the approximate date of your last activity relating to
                  the investigation(s) or prosecution(s) relating to events that occurred
                  at or near the US Capitol on January 6, 2021?
Id.; see ECF 25-19 at 14–16 (copy of the survey). Approximately 5,100 FBI employees completed

the survey. ECF 25-9 ¶ 24.

         Around this time, some January 6 pardonees began calling on the administration to take

action against FBI agents who worked on January 6 cases. See ECF 24 ¶¶ 43–44, 48. On

February 1, January 6 pardonee Enrique Tarrio3 posted on X demanding that an FBI agent who

testified against him be fired, arrested, and “made to answer for her crimes.” ECF 24 ¶ 44. On

February 3, a January 6 attendee posted—about a particular FBI agent—“This FBIer better have

filled out that survey today asking about his J6 prosecution (persecution) involvement.” Id. ¶ 48.

         On February 4, Plaintiffs filed two related lawsuits, which have since been consolidated.

See Does 1-9 v. DOJ, No. 25-cv-325, Feb. 6, 2025 Min. Entry; FBIAA v. DOJ, No. 25-cv-328.

Consolidated Plaintiffs are the Federal Bureau of Investigation Agents Association (“FBIAA”)

and a number of John and Jane Does. ECF 24 ¶¶ 4, 6. The FBIAA is a non-profit professional

organization that “advocate[s] for the careers, economic interests, conditions of employment, and

welfare of its members.” Id. ¶ 4. The FBI employs approximately 13,800 Special Agents, about

12,000 of whom are FBIAA members. Id. The Doe Plaintiffs are current FBI agents and employees

who worked on January 6 investigations, proceeding individually and on behalf of a putative

class.4 Id. ¶¶ 6, 7. Defendants are the DOJ and the United States. Id. ¶¶ 8–9.



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  In Defendants’ own words: Tarrio, the former leader of the Proud Boys, was sentenced to 22 years in prison for
seditious conspiracy and other charges related to the events of January 6. See Press Release, Dep’t of Just., Proud
Boys Leader Sentenced to 22 Years in Prison on Seditious Conspiracy and Other Charges Related to U.S. Capitol
Breach (Sept. 5, 2023) (available at https://perma.cc/76Y8-44K4). At sentencing, the district court found that Tarrio’s
conduct constituted an official act of terrorism, meriting an enhancement. See id.
4
  At the parties’ request, the Court held in abeyance the requirement to file a motion for class certification, pending
the Court’s resolution of dispositive motions and the entry of any scheduling order. See Apr. 28, 2025 Min. Order;
Loc. Civ. Rule 23.1(b).

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       Plaintiffs in each case also moved for a temporary restraining order (TRO) seeking to

enjoin Defendants from publicly disclosing the names of FBI agents who worked on January 6

investigations. See ECF 3; FBIAA v. DOJ, No. 25-cv-328, ECF 2. On February 5, the day after

Plaintiffs filed suit, A/DAG Bove sent an email to all FBI personnel with “additional information”

about the January 31 memo. ECF 24 ¶ 73. The email stated:

               Multiple times during the week of January 27, 2025, I asked the
               FBI’s acting leadership to identify the core team in Washington,
               D.C. responsible for the investigation relating to events on January
               6, 2021. The purpose of the requests was to permit the Justice
               Department to conduct a review of those particular agents’ conduct
               pursuant to President Trump’s Executive Order concerning
               weaponization in the prior administration. FBI acting leadership
               refused to comply. That insubordination necessitated, among other
               things, the directive in my January 31, 2025 memo to identify all
               agents assigned to investigations relating to January 6, 2021. In light
               of acting leadership’s refusal to comply with the narrower request,
               the written directive was intended to obtain a complete data set that
               the Justice Department can reliably pare down to the core team that
               will be the focus of the weaponization review pursuant to the
               Executive Order. The memo stated unambiguously, and I stand by
               these words, that the information requested was intended to
               “commence a review process” that will be used to “determine
               whether any additional personnel actions are necessary.”
               Let me be clear: No FBI employee who simply followed orders and
               carried out their duties in an ethical manner with respect to January 6
               investigations is at risk of termination or other penalties. The only
               individuals who should be concerned about the process initiated by
               my January 31, 2025 memo are those who acted with corrupt or
               partisan intent, who blatantly defied orders from Department
               leadership, or who exercised discretion in weaponizing the FBI.
               There is no honor in the ongoing efforts to distort that simple truth
               or protect culpable actors from scrutiny on these issues, which have
               politicized the Bureau, harmed its credibility, and distracted the
               public from the excellent work being done every day. If you have
               witnessed such behavior, I encourage you to report it through
               appropriate channels.
ECF 25-6 at 3 (emphases in original).




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        Also on February 5, Attorney General Pamela Bondi issued a memo to all DOJ employees

entitled, “Restoring the Integrity and Credibility of the Department of Justice.” ECF 25-7 at 2. The

memo stated that, pursuant to EO 14147, the DOJ “must take immediate and overdue steps to

restore integrity and credibility with the public . . . and to ensure that the Department’s personnel

are ready and willing to faithfully implement the policy agenda of the duly elected President of the

United States.” Id. The memo called for “review and accountability,” and remarked: “No one who

has acted with a righteous spirit and just intentions has any cause for concern about efforts to root

out corruption and weaponization.” Id. The memo announced a new “Weaponization Working

Group” to examine, among other things, “[t]he pursuit of improper investigative tactics and

unethical prosecutions relating to events at or near the United States Capitol on January 6, 2021—

as distinct from good-faith actions by federal employees simply following orders from

superiors.” Id. at 3 (emphasis in original).

        On February 6, the Court held a TRO hearing. See ECF 13. At that time, the parties seemed

to agree that the FBI’s Acting Director had not provided the names of those agents who completed

the survey to the DOJ, and had instead provided only their Employee Identification Numbers

(EINs). See ECF 13 at 12–13, 34, 41 (Hr’g Tr. 12:21–13:4, 34:14–18, 41:12–23). Plaintiffs allege

that, while the hearing was underway, “A/DAG Bove was contemporaneously in a meeting with

acting FBI leadership demanding that the FBI turn over the Survey names.” ECF 24 ¶ 79.

Ultimately, the FBI turned over the names of survey respondents, linked to their EINs, to DOJ. Id.

¶ 80.

        On February 7, the parties negotiated a consent order to preserve the status quo until the

Court could rule on Plaintiffs’ motion for preliminary injunction. ECF 14. Thereafter, Plaintiffs

filed an amended complaint, ECF 24, and a motion for preliminary injunction, ECF 25. They argue



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that Defendants intend to disclose their personal identifying information in violation of the Privacy

Act and the Fifth Amendment’s Due Process Clause, and plan to take adverse actions against them

in retaliation for their (perceived) First Amendment-protected political beliefs. ECF 25-1 at 27–

37. Defendants filed a motion to dismiss, arguing that the Court lacks subject matter jurisdiction

and that Plaintiffs have failed to state a claim. ECF 28. Per Defendants, Plaintiffs lack standing

because their alleged future injuries are too speculative and are not “certainly impending.” Id.

at 21–22 (quoting Kareem v. Haspel, 986 F.3d 859, 865 (D.C. Cir. 2021)).

       On February 17, Plaintiffs filed a motion for expedited discovery. ECF 20. That motion

sought “extensive, expedited discovery,” that was not tailored to the pending motions before the

Court. Feb. 28, 2025 Min. Order. The Court “decline[d] to order full-blown merits discovery,

particularly with a pending motion to dismiss that raises jurisdictional concerns,” and therefore

denied Plaintiffs’ motion without prejudice. Id.

       On March 10, Plaintiffs filed a renewed, narrowed motion for discovery. ECF 32. The

Court granted the motion in part and denied it in part, allowing Plaintiffs to obtain limited and

targeted jurisdictional discovery. ECF 38. The Court permitted Plaintiffs to serve two of their

interrogatories and two related documents requests. First, Plaintiffs asked Defendants to “[i]dentify

every non-DOJ person, including White House personnel and DOGE personnel, who is known to

have, or had, access to the data collected pursuant to the Survey” and produce “[a]ny Document

that relates to the Government’s intent for any potential future disclosure of the Survey.” Id. at 18.

And second, Plaintiffs requested that Defendants “[i]dentify and describe the ‘process’ identified

by Mr. Bove” in his Terminations Memo and February 5, 2025 message, and to produce any

documents related to the government’s interrogatory responses. Id.




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        On April 18, Defendants filed a notice indicating that jurisdictional discovery was complete

and appending their discovery responses. ECF 45. First, the Department explained that it “has not

shared the lists, or any data collected pursuant to the survey of FBI personnel, with any non-DOJ

person.” ECF 45-1 at 3. Second, DOJ identified no documents (that are not already on the public

docket or in Plaintiffs’ possession) that relate “to the Government’s intent for any potential future

disclosure of the Survey” or to any of its interrogatory requests. Id. at 4–6. And third, DOJ

provided the following description of the “process” identified by Bove:

               [T]he Department states that it plans to lead a review process that
               will begin with an evaluation of documents relating to investigations
               concerning events on January 6, 2021, including communications
               by Department and FBI personnel as well as other relevant materials
               such as documents relating to arrests, searches, and other
               operational plans. Following that review, the Department will
               conduct interviews with certain FBI personnel identified during the
               review, as appropriate. Depending on the outcome of the process, if
               any FBI personnel are determined to have engaged in criminal
               behavior or other misconduct, appropriate disciplinary actions may
               be taken, which may include, without limitation, demotions,
               suspensions, or terminations. However, the Department has not
               commenced this process; the Department has neither accessed the
               unclassified list of names that prior acting FBI leadership claimed
               to have sent to the Department via classified email nor reviewed
               documents or conducted interviews.
Id. at 4.

        The Court held a hearing on Plaintiffs’ motion for preliminary injunction and Defendants’

motion to dismiss on April 30, 2025. See Apr. 30, 2025 Min. Entry.

        On May 13, 2025, Ed Martin—the newly appointed head of DOJ’s Weaponization

Working Group—held a press conference and had the following exchange with a journalist:

               Question: On weaponization, you have been making a lot of public
               comments in media appearances saying that you intend to release
               information on people even who you don’t charge. My reading of
               the Justice Department Manual is that it clearly states prosecutors
               shouldn’t name people, especially people who they don’t intend to


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                   charge. So, how do you square those two things? What you have
                   been saying publicly and what the DOJ Manual says.

                   Mr. Martin: Well, I’d have to look at what the provision you are
                   referring to to see. We will want to square ourselves with doing the
                   things correctly. But I will say that the prosecutor’s role and at this
                   moment in our history is to make clear what the truth is and to get
                   that out. And when [Senator] Chuck Grassley is asking for more
                   transparency from the government, we need to listen. When
                   whistleblowers are talking about what is going on, and it can’t be
                   that the system is stifling the truth from coming out because of some
                   procedure. If it is in the Manual, if there is a law, look, I am the guy
                   that stands here and tells you the January 6 defendants, every one of
                   them wants all their documents back. They want us to release all the
                   video. And we said that’s not how it works. We have to be
                   thoughtful and serious about how the system works. If you want all
                   that information, there is a path. If you are suing about it, there is a
                   way. But we have to be serious about it, just like we have to be
                   serious about getting to the truth. There are some really bad actors,
                   some people who did some really bad things to the American people.
                   And if they can be charged, we will charge them. But if they can’t
                   be charged, we will name them. And we will name them and in a
                   culture that respects shame, they should be people that are shamed
                   and that’s a fact. That’s the way things work. And so, that’s how I
                   believe the job operates.

ECF 52 at 2.5 Plaintiffs filed a notice alerting the Court to those statements, ECF 51, and

Defendants filed a response, ECF 52.

           Plaintiffs filed a reply flagging similar comments Martin made in subsequent interviews.

See ECF 53. During an interview on a political talk show, Martin was asked whether government

officials who “committed crimes . . . with their government position” would realistically “go to

prison      in    the   next    four    years.”     @TheFirstonTV,         X    (May 15,   2025,   9:05 PM),

https://perma.cc/4DVD-3HSX, at 0:17–0:33. Martin responded that there are “three parts” of such

a process, one of which is to “name and shame.” Id. at 2:09–2:12. He continued:

                   I did a press conference and they said, you can’t do that, and I said,
                   watch me. Name and shame. I mean, these guys are scum. The guys


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    Video of the press conference is available at https://perma.cc/8URG-2LRX.

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                 like Brennan and Schiff, these people are destroying the country.
                 Name and shame.

Id. at 2:13–2:23. During a May 15 interview, Martin was asked about pardons made by former

President Joe Biden. See @AnnieFrey, ASLEEP on the job??, YouTube, https://perma.cc/FDW7-

QBTV, at 0:00–0:18. Martin responded:

                 Well look, what we have right now is we have a government that,
                 for the last four-plus years, was really aimed at destroying
                 Americans and destroying the rule of law. They said things
                 like . . . Donald Trump is a threat to democracy. . . . They were
                 using the law against the citizens. We saw it on January 6th. We saw
                 it on targeting Catholics. We saw it on targeting school board
                 attending families, right. One after another, incidents where the
                 government is weaponized against we the people. When it comes to
                 something like the pardons . . . the President of the United States can
                 do what he wants on that. But when there is something that doesn’t
                 make sense . . . we have an obligation to name it. And if it’s bad, we
                 should shame it. And if it’s illegal, we should prosecute it. But we
                 shouldn’t shy away from any of those two things, and I think that’s
                 what the President has taught us, that’s what he asked me to do in
                 this new role that I have. And we’re gonna do it, we’re not gonna be
                 afraid of it. And let the chips fall where they may.

Id. at 0:19–1:09.

II.     LEGAL STANDARDS

        Defendants move to dismiss Plaintiffs’ complaint for lack of subject matter jurisdiction

under Federal Rule of Civil Procedure 12(b)(1), and for failure to state a claim under Rule 12(b)(6).

The Court need only reach Defendants’ jurisdictional arguments, and therefore relies solely on

Rule 12(b)(1).

        Federal courts are courts of limited jurisdiction and they cannot hear a case unless a

plaintiff has standing. See Murthy v. Missouri, 603 U.S. 43, 56–57 (2024); U.S. Const. art. III, § 2.

“[T]o establish standing, a plaintiff must show (i) that he suffered an injury in fact that is concrete,

particularized, and actual or imminent; (ii) that the injury was likely caused by the defendant; and

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(iii) that the injury would likely be redressed by judicial relief.” TransUnion LLC v. Ramirez,

594 U.S. 413, 423 (2021). The burden is on Plaintiffs to establish that they have standing “for each

claim that they press and for each form of relief that they seek.” Id. at 430–31. At the same time,

a court evaluating standing “must be careful not to decide the questions on the merits for or against

the plaintiff, and must therefore assume that on the merits the plaintiffs would be successful in

their claims.” In re Navy Chaplaincy, 697 F.3d 1171, 1175 (D.C. Cir. 2012).

       When an organization like FBIAA sues in federal court, it can establish standing on its own

behalf (organizational standing) or on behalf of its members (associational standing). For

organizational standing, an entity must—like any individual plaintiff—show “actual or threatened

injury in fact that is fairly traceable to the alleged illegal action and likely to be redressed by a

favorable court decision.” PETA v. USDA, 797 F.3d 1087, 1093 (D.C. Cir. 2015) (quoting Equal

Rights Ctr. v. Post Props., Inc., 633 F.3d 1136, 1138 (D.C. Cir. 2011)). An entity has associational

standing “if at least one member would have standing to sue in its own right, the interests the

association seeks to protect are germane to its purpose, and neither the claim asserted nor the relief

requested requires that an individual member of the association participate in the law suit.” Nat’l

Env’t Dev. Assoc.’s Clean Air Project v. EPA, 752 F.3d 999, 1005 (D.C. Cir. 2014).

       At the motion-to-dismiss stage, “plaintiffs need not yet establish each element of standing

by a preponderance of the evidence”—instead, the court asks simply “whether plaintiffs have

plausibly alleged standing.” In re U.S. Off. of Pers. Mgmt. Data Sec. Breach Litig., 928 F.3d 42,

54 (D.C. Cir. 2019) (“OPM”) (per curiam). The court therefore accepts the complaint’s allegations

as true, Banneker Ventures, LLC v. Graham, 798 F.3d 1119, 1129 (D.C. Cir. 2015), and “where

necessary . . . may consider the complaint supplemented by undisputed facts evidenced in the




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record, or the complaint supplemented by undisputed facts plus the court’s resolution of disputed

facts,” Herbert v. Nat’l Acad. of Scis., 974 F.2d 192, 197 (D.C. Cir. 1992).

III.    ANALYSIS

        Plaintiffs’ claims fall into two categories. The first relates to the potential disclosure of the

survey results. Plaintiffs “fear[] that their identities, specifically their names, will be released to

the public,” ECF 24 ¶ 81, in violation of the Privacy Act and the Fifth Amendment’s Due Process

Clause, putting their lives and livelihoods at risk. Although Plaintiffs fear the repercussions of

disclosure, a fear that something may happen in the future—even if that fear is serious and

sincere—is not enough to bring a lawsuit. Plaintiffs’ amended complaint does not include

allegations that sufficiently support their belief that Defendants will imminently disseminate their

names or personnel information. The Court will therefore grant Defendants’ motion to dismiss

Counts I–IV and VI because Plaintiffs lack standing.

        Plaintiffs’ second set of claims, Counts V and VII, are brought under the First Amendment.

But here, too, Plaintiffs lack standing because they challenge only hypothetical, future terminations

and unspecified “adverse actions” that may never occur. See, e.g., id. ¶ 85. Plaintiffs argue in their

briefs that Defendants’ ongoing internal review of FBI agents is itself an adverse action that

violates the First Amendment. See ECF 35 at 29; ECF 37 at 18–20. But those allegations are

conspicuously absent from the amended complaint—the document in which Plaintiffs must make

the contours of their claims clear. The Court cannot overlook that deficiency and must therefore

dismiss Counts V and VII for lack of standing.

        A. Disclosure Claims

        Plaintiffs allege that Defendants plan to disseminate the list of names and other personnel

information of FBI agents who worked on January 6 cases, in violation of the Privacy Act (Counts I



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and II) and the Fifth Amendment’s Due Process Clause (Count VI).6 ECF 24 ¶¶ 94–101, 122–25.

They seek alternative relief in the form of mandamus, arguing that disclosing agents’ names would

violate Defendants’ non-discretionary duty to safeguard the identities of their personnel (Count

IV). See id. ¶¶ 105–10; Apr. 30, 2025 Hr’g Rough Tr. 14:22–15:7.

         A party alleging a future injury “confronts a significantly more rigorous burden to establish

standing.” Chamber of Com. of U.S. v. EPA, 642 F.3d 192, 201 (D.C. Cir. 2011) (quoting United

Transp. Union v. Interstate Com. Comm’n, 891 F.2d 908, 913 (D.C. Cir. 1989)). Plaintiffs only

have standing to bring their claims if future disclosure—their alleged injury—is “imminent.”7 See

TransUnion LLC, 594 U.S. at 423. Imminence is “concededly a somewhat elastic concept,” but it

“cannot be stretched beyond its purpose, which is to ensure that the alleged injury is not too

speculative for Article III purposes.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013)

(quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 556 n.2 (1992)). An injury is “imminent” only

if it is “certainly impending,” id. (emphasis in original), or “there is a ‘substantial risk’ that the

harm will occur,” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014) (quoting Clapper,



6
  Plaintiffs also bring an Administrative Procedure Act (APA) claim, Count III, as the vehicle for the injunctive relief
they seek under the Privacy Act. See ECF 24 ¶¶ 102–04; ECF 35 at 21–23.
7
  One sentence in Plaintiffs’ 132-paragraph amended complaint alleges, “on information and belief,” that Defendants
“have disseminated” information about Plaintiffs and their work on January 6 investigations. ECF 24 ¶ 95. As the
Court will shortly explain, allegations made “on information and belief” must be accompanied by a statement of the
facts that support the belief asserted. But Plaintiffs’ amended complaint includes no factual allegations to support their
conclusion that Defendants have already disseminated their information. It includes only a stray reference to the fact
that, at the time of the amended complaint, Defendants could not represent to the Court that they had not disseminated
the information beyond the DOJ. Id. ¶ 59. Such allegations are insufficient as the Court will explain infra. See n.10.
And regardless, Defendants have since confirmed in their sworn discovery responses that they have not released the
survey results publicly—indeed, they have not disseminated the information outside of the DOJ. ECF 45-1 at 3.

Every other paragraph of the amended complaint (and Plaintiffs’ subsequent briefing) focuses on potential future
dissemination. See, e.g., ECF 24 ¶ 75 (“Plaintiffs continue to live in a state of fear that their names will be disclosed
to the public.”); id. ¶ 81 (“Plaintiffs remain fearful that their identities, specifically their names, will be released to the
public.”); ECF 20-1 at 1 (representing that “[a]s alleged in Plaintiffs’ Complaints, Plaintiffs expect that the
Defendants . . . intend to disseminate publicly the names of numerous FBI personnel”); ECF 25-1 at 19 (describing
Plaintiffs’ Privacy Act injury as “the potential disclosure of the Doe Plaintiffs’ personal information” to the public);
ECF 35 at 22 (arguing that this information “will be unlawfully disclosed”). Accordingly, this opinion focuses on
Plaintiffs’ standing to challenge any future disclosure of their information.

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568 U.S. at 414 n.5). The Court considers Plaintiffs’ amended complaint, the attachments to their

motion for preliminary injunction, Defendants’ discovery responses, and Plaintiffs’ supplemental

filings on recent statements by government officials to determine whether Plaintiffs have standing.

See Settles, 429 F.3d at 1107 (holding that the court may consider “facts developed in the record

beyond the complaint” to assess standing). The Court ultimately finds that Plaintiffs have not

plausibly alleged that any disclosure of their identities is certainly impending.

               a. Plaintiffs’ Amended Complaint

       Turning first to the amended complaint: Plaintiffs allege, “[o]n information and belief,”

that Defendants “will imminently disseminate records about the Plaintiffs and their involvement

in sensitive investigations.” ECF 24 ¶ 95. “[P]leadings on information and belief are permitted

when ‘the necessary information lies within defendants’ control.’” Kareem, 986 F.3d at 866

(quoting Kowal v. MCI Commc’ns Corp., 16 F.3d 1271, 1279 n.3 (D.C. Cir. 1994)). Defendants’

plan for the information collected in response to the January 6 surveys is certainly information

within their control. However, the D.C. Circuit requires that allegations based on information and

belief “be accompanied by a statement of the facts upon which the allegations are based,” which

the court must then evaluate for plausibility. Id. (quoting Kowal, 16 F.3d at 1279 n.3).

       Plaintiffs point to six factual allegations that they believe “permit a reasonable

inference . . . that their identities may be released to individuals outside DOJ.” ECF 35 at 16

(emphasis added). First, they allege that “President Trump has consistently promised vengeance

against FBI personnel.” Id. Second, they claim that the President has “started to make good on that

promise” by pardoning January 6 defendants and “publicly identifying and threatening to identify

government officials.” Id. at 16–17. Third, DOJ “identified and summarily terminated, without

warning, high-ranking FBI officials solely because they had supervisory responsibility over the



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January 6 investigations.” Id. at 17. Fourth, DOJ created the survey “based on the conclusory

presumption” that FBI agents “had weaponized their law enforcement roles against President

Trump.” Id. Fifth, after the FBI provided DOJ with survey respondents’ EINs, DOJ “insisted that

the FBI provide the names of every Survey respondent, notwithstanding that this did nothing to

support its stated purpose for Weaponization EO.” Id. And sixth, according to Plaintiffs, the

government has not “identified any lawful purpose for which they could disseminate the identities

of FBI personnel, but even now are fighting for that option.” Id.

       For ease of explanation, the Court divides Plaintiffs’ allegations into three categories:

(1) President Trump’s statements about FBI agents, (2) Defendants’ past conduct—including

disclosures of other employees’ identities and treatment of January 6 defendants, and (3) the

survey itself (and Defendants’ conduct related to it). But even accepting Plaintiffs’ well-pled

factual allegations as true and drawing all reasonable inferences in their favor, their “standing

theory does not cross the line from conceivable to plausible.” Kareem, 986 F.3d at 862.

                        i. President Trump’s Statements About FBI Agents

       To support their allegation that Defendants plan to disseminate sensitive information about

FBI agents who responded to the January 6 survey, Plaintiffs emphasize that “President Trump

has consistently promised vengeance against FBI personnel who he claims engaged in fraudulent

and politically driven investigations of him.” ECF 35 at 16. Their amended complaint cites to

statements the President has made on social media calling FBI agents “[t]hugs,” “[t]yrants,” and

“Gestapo.” ECF 24 ¶ 41. Those statements certainly suggest animus toward some Plaintiffs, but

they do not remotely indicate that Defendants intend to take the particular action at issue here—

disclosing the list of agents’ names to the public.




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                       ii. Past Disclosures and Past Treatment of January 6 Defendants

        Plaintiffs also point to the government’s past conduct as evidence of what it might do in

the future. First, according to Plaintiffs, the administration has “publicly identif[ied] and

threaten[ed] to identify government officials,” including “identif[ying] and summarily

terminat[ing], without warning, high-ranking FBI officials” who supervised January 6

investigations. ECF 35 at 17; see ECF 24 ¶¶ 57, 60, 65–66; ECF 25-5. Plaintiffs fear that the same

thing will happen to them. See ECF 35 at 16–17. Similarly, Plaintiffs argue that disclosure is

imminent because this administration has a history of “acquiescing to and pandering to” the

demands of January 6 defendants (including by pardoning them), and those pardonees are now

calling on the administration to disclose agents’ identities. Apr. 30, 2025 Hr’g Rough Tr. 4:5–21;

see ECF 25-1 at 19; ECF 35 at 16–17.

        A plaintiff seeking prospective injunctive relief “may not rest on past injury” alone. Arpaio

v. Obama, 797 F.3d 11, 19 (D.C. Cir. 2015); see City of Los Angeles v. Lyons, 461 U.S. 95, 105

(1983) (holding that respondent’s allegations that he had been illegally choked by police officers

and that officers routinely employed unlawful chokeholds were insufficient to establish standing

to enjoin future use of chokeholds). “Of course, past wrongs are evidence bearing on whether there

is a real and immediate threat of repeated injury.” O’Shea v. Littleton, 414 U.S. 488, 496 (1974).

But the Court must be able (as with any inquiry on a motion to dismiss) to reasonably infer from

those allegations of past wrongs that future harm is imminent. See Lyons, 461 U.S. at 106 n.7

(explaining that plaintiff failed to “credibly allege that he faced a realistic threat” that he would be

subject to unlawful action in the future, despite allegations that challenged practice was common);

Swanson Grp. Mfg. LLC v. Jewell, 790 F.3d 235, 242 (D.C. Cir. 2015) (holding that “general

averments” and “conclusory allegations” about past injury were insufficient to establish imminent

future injury); Lebron v. Rumsfeld, 670 F.3d 540, 561 (4th Cir. 2012) (“[I]t is . . . insufficient for
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a plaintiff claiming standing to observe that the challenged conduct is repeatable in the future.”).

The Court cannot make that inference here, because the past disclosures Plaintiffs rely on do not

resemble the future disclosure they fear.

         First, the connection between past injury and future conduct that Plaintiffs ask the Court to

make here is arguably even more attenuated than in cases like Lyons, where the plaintiff was

himself subject to the challenged action. 461 U.S. at 105. Plaintiffs point only to actions that

Defendants allegedly took against a handful of other government employees. Two of the alleged

disclosures did not involve FBI agents or January 6 at all. See ECF 24 ¶ 57 (alleging that Elon

Musk “shared the names and titles of individual civil servants” who hold climate-related

positions); id. ¶ 60 (alleging that the CIA “sent a list of employees’ names over an unclassified

system to the Office of Personnel Management”). Even the sole “disclosure” that involved FBI

employees— the public identification of eight FBI officials in the Terminations Memo, see ECF 24

¶ 65; ECF 25-5—is not analogous to what Plaintiffs fear will happen to them. By Plaintiffs’ own

admission, the Terminations Memo identified eight “high-ranking” FBI officials, not necessarily

Special Agents like Plaintiffs. See ECF 35 at 17. Bove did not source these officials’ names from

the list at issue in this case (i.e. the results of the survey), because the Terminations Memo predated

the survey. See ECF 24 ¶¶ 65–68.8 And, although Plaintiffs are asking the Court to make the

inferential leap that the government will violate the Privacy Act in the future, they have not even

argued that the Terminations Memo itself violated the Privacy Act. Likewise, the fact that the

administration previously pardoned January 6 defendants does not give rise to a reasonable

inference that the administration will do something very different here—namely, disclose




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 It is also unclear from the record whether Defendants deliberately disclosed the Terminations Memo to the public,
or whether it was otherwise leaked to the public outside of official channels. See ECF 13 at 16 (Hr’g Tr. 13:8–13:22).

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Plaintiffs’ identifying information to appease pardonees. To find otherwise would be pure

speculation.

        When it comes to standing, the fact that the administration may have previously disclosed

other employees’ identities under quite different circumstances, or has supposedly “acquiesced”

to the requests of January 6 pardonees, cannot establish that a future disclosure of Plaintiffs’

personnel information is “certainly impending,” rather than merely “possible.” Clapper, 568 U.S.

at 409. Anything may be possible, but courts are concerned with what is plausible.

        The cases Plaintiffs discuss in their papers—In re Office of Personnel Management Data

Security Breach Litigation (“OPM”), 928 F.3d 42, and League of Women Voters of United States

v. Newby, 838 F.3d 1 (D.C. Cir. 2016)—do not help them. See ECF 35 at 17–18; ECF 37 at 4–5.9

Unlike in this case, the plaintiffs in OPM and League of Women Voters challenged an allegedly

unlawful action that had already occurred. In OPM, plaintiffs challenged the Office of Personnel

Management’s existing, “woefully inadequate” cybersecurity practices. 928 F.3d at 49. In League

of Women Voters, plaintiffs challenged Alabama, Georgia, and Kansas’s requirement that voters

show proof of citizenship. 838 F.3d at 1, 6. The question in each case was not, as here, whether

the defendant would take the allegedly unlawful action at all, but whether and how an unlawful

action the defendant had already taken would cause concrete injury to plaintiffs. See OPM,

928 F.3d at 54–55, 60–61; League of Women Voters, 838 F.3d at 6. In support of that inquiry, the

D.C. Circuit drew reasonable inferences about future harm based on how plaintiffs had been

harmed in the past. For example, in League of Women Voters, plaintiffs provided detailed

information about how Kansas’s enforcement of its proof-of-citizenship requirement had limited

voting rights organizations’ ability to register voters. See 838 F.3d at 8. There was no question that


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  Plaintiffs only cite League of Women Voters in their motion for preliminary injunction, but because it bears on
standing, the Court considers it here.

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Alabama and Georgia had the same proof-of-citizenship requirement—new instructions listing the

requirement had already gone into effect—but it was unclear whether Alabama and Georgia were

enforcing that requirement at the time of the lawsuit. See id. at 6, 8. The D.C. Circuit concluded

that “based on the experience of the Kansas [organizations], it seems almost certain that similar

obstacles to registration will spring up in Alabama and Georgia when those States decide to enforce

their laws,” and therefore the Alabama and Georgia organizations had standing. Id.

       In OPM, plaintiffs alleged that OPM’s inadequate cybersecurity protections enabled

hackers “to gain access to the agency’s treasure trove of employee information, which in turn

exposed plaintiffs to a heightened risk of identity theft.” 928 F.3d at 49. There, the threat to

plaintiffs’ privacy was “ongoing” and non-speculative, because OPM had done nothing since the

data breach to shore up its poor cybersecurity protections and prevent it from happening again. See

id. at 52, 54–55, 60. Given plaintiffs’ allegations about “OPM’s continued failure to adequately

secure its databases,” the D.C. Circuit drew the unsurprising inference that “there remains a

‘substantial risk’ that their personal information will be stolen from OPM again in the future.” Id.

at 54–55. But Plaintiffs have not alleged any ongoing unlawful activity here.

       Although past conduct can be relevant, the past conduct Plaintiffs have alleged here is not.

The past events Plaintiffs rely on—discrete disclosures of employee information under different,

non-analogous circumstances, and the fact that President Trump pardoned January 6 defendants—

just do not match up with the future injury alleged in this case. The Court cannot reasonably infer

from these events—taken alone or considered alongside Plaintiffs’ other allegations—that

Defendants will imminently disclose Plaintiffs’ identities.




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                       iii. Defendants’ Conduct Related to the Survey

       Plaintiffs argue that disclosure is imminent because there was no lawful reason for

Defendants to create the list (and specifically, a list of names rather than the list of EINs that FBI

initially provided) other than to disclose it. See Apr. 30, 2025 Hr’g Rough Tr. 4:5–21, 7:9–7:12;

ECF 25-1 at 19; see ECF 35 at 17. But the complaint does not support that conclusion. It alleges

that Defendants compiled the list of names to target Plaintiffs for adverse actions, like termination.

See ECF 24 ¶¶ 119, 127. That would not necessarily involve disclosing Plaintiffs’ names to the

public. Nor is there anything in the record that supports Plaintiffs’ argument. Defendants’

discovery responses indicate, and government counsel confirmed during the preliminary

injunction hearing, that the list is part of the Department’s “internal review” of January 6

prosecutions. See Apr. 30, 2025 Hr’g Rough Tr. 31:10–12, 37:23–38:7; ECF 45-1 at 4. While there

may be a real dispute here about the motivations of that investigation, there does not seem to be

much dispute that an investigation of some kind is happening and that the list is related to it. See

ECF 45-1 at 4 (describing review process). In other words, both Plaintiffs’ own complaint and the

record indicate that Defendants compiled the list of names as part of their investigation. The Court

cannot infer—without more—that Defendants have any plans to disseminate Plaintiffs’

information simply because they asked the FBI to provide them with a list of Plaintiffs’ names.

       Plaintiffs also argue that DOJ created the survey “based on the conclusory presumption”

that FBI agents “had weaponized their law enforcement roles against President Trump.” ECF 35

at 17. Again, that might bear on the motivations for Defendants’ investigation, but it is a leap to

say that it indicates Plaintiffs’ identities will be imminently disclosed.

       Finally, Plaintiffs emphasize that Defendants “will not disclaim the possibility that in the

future they will disclose these names.” Apr. 30, 2025 Hr’g Rough Tr. 28:21–22; see ECF 35 at 17



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(“[D]efendants have not identified any lawful purpose for which they could disseminate the

identities of FBI personnel, but even now are fighting for that option.”). Their complaint alleges

that “[d]espite being served with a lawsuit seeking a restraint of his suspected planned public

release of the survey results, A/DAG Bove did not disavow his intention to . . . release the results

of the survey” to either the public or a third party. ECF 24 ¶ 74. But it is Plaintiffs’ burden, not

Defendants’, to establish standing. TransUnion LLC, 594 U.S. at 430–31. The Court cannot

construe any purported silence as an affirmative allegation supporting imminent disclosure.10 Nor

can the Court reasonably infer that Defendants intend to take the unlawful action alleged because

a high-level government official has not publicly commented on the pending litigation.

                  b. Discovery Responses

         Looking beyond the amended complaint, Defendants’ discovery responses did not provide

any information that supports Plaintiffs’ standing allegations. (Notably, Plaintiffs have not sought

to further amend their complaint to include any information they received through discovery).

Discovery revealed that the list of names has not left the DOJ. ECF 45-1 at 3. According to

Defendants’ responses, the Department has not shared the list of names or any data collected

pursuant to the survey “with any non-DOJ person,” including Department of Government

Efficiency (DOGE) personnel or White House personnel. Id. Defendants clarified, in response to

Plaintiffs’ inquiry, that this means “persons outside of the Department of Justice have not

‘accessed’” the list. ECF 45-2 at 1. In fact, the Department itself has not accessed the list of names

that FBI shared with it. ECF 45-1 at 4. Furthermore, discovery turned up no documents relating


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  Plaintiffs filed a notice of supplemental authority purporting to identify cases where a court has relied on a party’s
failure to disclaim a particular course of action, see ECF 49, but each of the cited cases is plainly inapposite. See
United States v. Hale, 422 U.S. 171, 176 (1975) (probative weight of criminal defendant’s silence during pretrial
detention); Wright v. District of Columbia, No. 05-cv-990, 2007 WL 1141582, at *4 (D.D.C. Apr. 17, 2007) (waiver);
United States v. Project on Gov’t Oversight, 526 F. Supp. 2d 62, 64–65 (D.D.C. 2007) (employer’s silence following
organization’s disclosure of intent to make a particular payment may bear on what the employer believed about the
propriety of that payment); Al-Hela v. Biden, 66 F.4th 217, 237 (D.C. Cir. 2023) (presumption of regularity).

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“to the Government’s intent for any potential future disclosure of the Survey.” Id. at 4. These

discovery responses were accompanied by a signed certification attesting to their accuracy, and

Defendants have a continuing obligation to supplement or correct those responses if they learn that

they are “incomplete or incorrect.” See id. at 8; Fed. R. Civ. P. 26(e). Plaintiffs have not informed

the Court that they believe these responses are deficient. Reading these responses, the Court can

discern no evidence that disclosure of the survey results is “imminent.”

               c. Martin’s Recent Statements

        Finally, Plaintiffs contend that Martin’s statements during the May 13 press conference

“indicated a clear, unmistakable intent to ‘name’ and ‘shame’ federal employees, i.e., the Plaintiffs,

who investigated January 6th.” ECF 51 at 3. But even assuming that Martin’s statements (which

do not refer to FBI agents on their face) in fact apply to Plaintiffs, they do not suggest that any

disclosure is “certainly impending.” Rather, Martin indicated that any “naming” and “shaming”

would be contingent on (1) some future finding that Plaintiffs are “bad actors” or did “something

that does not make sense,” and (2) a determination that Plaintiffs’ bad acts were not illegal or that

Plaintiffs cannot otherwise be criminally charged for those actions. See ECF 52 at 2 (“There are

some really bad actors, some people who did some really bad things to the American people. And

if they can be charged, we will charge them. But if they can’t be charged, we will name them.”);

ECF 53 at 3 (“When there is something that does not make sense, we have an obligation to name

it, and if it’s bad we should shame it, and if it’s illegal we should prosecute it.”). Because any

disclosure is dependent on two future events—a finding that Plaintiffs are “bad actors,” and a




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determination that Plaintiffs cannot be charged—each of which may or may not come to pass,

disclosure cannot be “certainly impending.”11

         To be clear, the Court takes Martin at his word that he intends to “name and shame” those

“bad actors” he is unable to charge. When government officials speak, courts listen. When the

White House Press Secretary posts on social media stating that a memo purporting to rescind a

federal funding freeze is doing no such thing, the court takes that seriously. See Nat’l Council of

Nonprofits v. Off. of Mgmt. & Budget, No. 25-cv-239, 2025 WL 597959, at *3, *8 (D.D.C. Feb. 25,

2025). When the Secretary of Defense announces on X that “[t]ransgender troops are disqualified

from service without an exemption,” the court will not speculate that the Secretary might have

meant otherwise. See Talbott v. United States, No. 25-cv-240, 2025 WL 842332, at *10

(D.D.C. Mar. 18, 2025). If Martin made statements from which the Court could reasonably infer

that he imminently planned to release the information at issue in this case, that would be a different

story. But the problem for Plaintiffs is that, even taking Martin at his word, his statements indicate

only a contingent (and therefore, not “certainly impending”) future action. That is not enough to

confer standing.

                                                   *     *     *

         It is worth pausing to note that, in a case where both the facts and the law are hotly

contested, the parties agree on something. They agree (or at least, Defendants did not dispute

during the initial hearing in this case) that releasing Plaintiffs’ identities to the public would put

FBI agents at serious risk of physical danger. See ECF 13 at 43:17–44:6. January 6 pardonees have




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   In the alternative, one could construe this as a ripeness problem. “A claim is premature and therefore unripe for
judicial review if it depends on ‘contingent future events that may not occur as anticipated, or indeed may not occur
at all.’” Saline Parents v. Garland, 88 F.4th 298, 306 (D.C. Cir. 2023), cert. denied, 145 S. Ct. 144 (2024) (quoting
Trump v. New York, 592 U.S. 125, 131 (2020) (per curiam)). Whether the Court views it as a standing deficiency or a
ripeness problem, however, the outcome is the same: Plaintiffs’ claims cannot go forward.

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explicitly targeted individual FBI agents and have even referenced the very survey that is at the

heart of this case. See ECF 24 ¶¶ 44–56. And there is a history of these sorts of threats escalating

into physical violence. See id. ¶¶ 51–52. Just a few months ago, a January 6 defendant was

convicted of plotting to murder the FBI agents who investigated him. Id. ¶ 53.12 Agents are,

understandably, terrified. They have submitted declarations stating that they fear for their safety

and the safety of their families if the fact that they worked on January 6 cases is publicly disclosed.

See ECF 25-10 ¶ 21; ECF 25-11 ¶ 21; ECF 25-12 ¶ 23; ECF 25-13 ¶ 23; ECF 25-14 ¶ 23;

ECF 25-15 ¶ 23; ECF 25-16 ¶ 25; ECF 25-17 ¶ 28; ECF 25-18 ¶¶ 23–24. The Executive Director

of the FBIAA agrees that disclosing the survey data publicly “would immediately put . . . Special

Agents in physical danger from individuals who feel emboldened to seek what they believe is

justified retribution that will be condoned by the Department of Justice.” ECF 25-9 ¶ 53. The

FBIAA has received an “overwhelming” increase in calls from members, including agents

requesting security assistance, and has had to create a process to assist members in reporting threats

to the Bureau. Id. ¶¶ 50–51. The Association has even had to perform a security assessment of its

own offices due to threats to the organization. Id. ¶ 52. And “[i]f FBI agents are killed, which is

the expressed desire of many individuals who survey respondents investigated,” it will fall to the

FBIAA to “provid[e] funding and support to surviving family members.” Id. ¶ 54.

        The Court makes this observation because it understands why Plaintiffs are afraid. The

Court understands why Plaintiffs want certain assurances from the government and may be

frustrated that they are not getting answers. And the Court understands why Plaintiffs want the

Court to provide such assurances through court order. But there is “[n]o principle . . . more

fundamental to the judiciary’s proper role in our system of government than the constitutional


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  See Press Release, Dep’t of Just., Federal Jury Convicts Man of Conspiring to Murder FBI Employees (Nov. 20,
2024) (available at https://perma.cc/K527-6C3A).

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limitation of federal-court jurisdiction to actual cases or controversies.” Clapper, 568 U.S. at 409

(quoting DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 341 (2006)). This Court cannot enjoin

Defendants from disclosing the identities of FBI agents who worked on January 6 cases because

Plaintiffs have not established that they have standing. There is nothing in Plaintiffs’ amended

complaint or the record before the Court—taken separately or considered together—from which

the Court can reasonably conclude that Defendants have any plan to release Plaintiffs’ identities

to the public.

        Because the individual Plaintiffs lack standing to bring their disclosure claims, the FBIAA

cannot assert associational standing on their behalf. See Sierra Club v. FERC, 827 F.3d 59, 65

(D.C. Cir. 2016) (holding that associational standing requires that at least one of the association’s

members has suffered an injury-in-fact). Nor does the FBIAA have standing to sue in its own right.

The FBIAA alleges the same future, hypothetical injuries as the Doe Plaintiffs. See ECF 24 ¶¶ 94–

131 (not distinguishing between Doe Plaintiffs and FBIAA). Those allegations are insufficient for

all the reasons discussed above. See PETA, 797 F.3d at 1093 (requiring organization, “like an

individual plaintiff, to show ‘actual or threatened injury in fact’” (quoting Equal Rights Ctr., 633

F.3d at 1138)). The Court accordingly grants Defendants’ motion to dismiss Counts I–IV and VI

for lack of subject matter jurisdiction.

        B. First Amendment Claims

        The Court now turns to Plaintiffs’ First Amendment retaliation claims, which have become

a moving target. In their opposition brief, Plaintiffs explain that they are not challenging any future

“termination, demotion, or other reputational harm.” ECF 35 at 16 n.6; see id. at 8 n.1. Instead,

they argue that their purported injury is rooted in Defendants’ internal review (or investigation) of




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FBI agents who worked on January 6 cases, which is already in progress.13 According to Plaintiffs,

just placing an agent under investigation imposes immediate adverse professional consequences,

regardless of the stage or potential outcome of that investigation.14 And, Plaintiffs argue that

Defendants have launched this investigation only because they believe—incorrectly—that agents

who worked on those cases are not loyal to President Trump. See ECF 35 at 29 (arguing that

Defendants have “targeted Plaintiffs and subjected them to review based on their alleged political

affiliation”); ECF 37 at 18–20. Per Plaintiffs, Defendants’ investigation therefore violates the First

Amendment. See ECF 35 at 29; ECF 37 at 18–20; Heffernan v. City of Paterson, 578 U.S. 266

(2016); Branti v. Finkel, 445 U.S. 507 (1980); Elrod v. Burns, 427 U.S. 347 (1976).

         The problem, however, is that those arguments do not follow from the amended complaint.

ECF 24. Plaintiffs’ amended complaint references DOJ’s “review process.” See ECF 24 ¶ 67, 77–

78. But it does not allege that the review process or investigation is itself an adverse action

motivated by an impermissible purpose that Plaintiffs are challenging in this case. In fact, Plaintiffs

never allege that Defendants are currently taking any adverse actions against them. The only

adverse actions complained about in the amended complaint are those that Plaintiffs “anticipate[]”

will occur—either termination or other “adverse action” that Plaintiffs never specify. See e.g.,

ECF 24 at 2; id. ¶ 85 (“On information and belief, acting leadership at DOJ is planning the

imminent, mass, unlawful termination, or other adverse action, of Bureau employees . . .”); id. ¶ 90

(referencing unspecified “unlawful adverse employment actions” that Defendants “are planning”).


13
   See ECF 25-5 at 3 (stating that, upon receipt of the survey results, the Department “will commence a review process”
(emphasis added)); ECF 45-1 at 4 (describing the investigative steps Defendants will take); ECF 25-10 ¶ 14
(“[W]hatever review is forthcoming into January 6 Cases will include me.”).
14
   See ECF 25-19 ¶¶ 5–6, 19–23 (former senior FBI official, explaining that merely opening an investigation into an
FBI agent imposes immediate and debilitating professional consequences); ECF 25-20 ¶¶ 16–27 (same); ECF 25-16
¶ 18 (Plaintiff FBI agent averring that because of Defendants’ review, she is “no longer being assigned to any tasks
associated with the investigation of domestic terrorism and extremist activity”); ECF 25-17 ¶ 19 (same); id. ¶ 25
(Plaintiff FBI agent, stating that she is currently applying for a competitive internal position and is now at a
disadvantage because of Defendants’ review).

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Count V, Plaintiffs’ First Amendment retaliation claim, specifically alleges that Plaintiffs “fear

retaliation—in the form of disclosure of their identities and/or termination from the FBI—based

on their perceived political affiliation.” ECF 24 ¶ 120 (emphasis added).

         The Court thus does not understand Plaintiffs’ insistence that “termination” is “not part of

the counts alleged in the First Amended Complaint.” ECF 35 at 16 n.6. The Court reads Plaintiffs’

amended complaint in the same way that Defendants do: Plaintiffs bring First Amendment claims

because they “fear retaliation—in the form of disclosure of their identities and/or termination from

the FBI.” ECF 24 ¶ 120. The Court has already explained at length why Plaintiffs lack standing to

challenge any future disclosure. And as to terminations—even if Plaintiffs had not abandoned that

claim twice over in their opposition brief and thus conceded the point, see ECF 35 at 8 n.1; id.

at 16 n.6, they would lack standing to challenge future terminations, which are at this stage only

hypothetical, not “certainly impending.” See ECF 45-1 at 4 (“Depending on the outcome of the

[review] process, if any FBI personnel are determined to have engaged in criminal behavior or

other    misconduct,     appropriate   disciplinary    actions   may    be    taken,   which    may

include . . . demotions, suspensions, or terminations.” (emphases added)). Plaintiffs have thus

staked their First Amendment retaliation claims on the idea that Defendants’ review process is

itself an adverse action taken for an impermissible purpose—but that allegation, inexplicably,

appears nowhere in the Amended Complaint. “It is axiomatic that a party may not amend his

complaint through an opposition brief.” Singh v. District of Columbia, 55 F. Supp. 3d 55, 70

(D.D.C. 2014). If Plaintiffs intended to bring a claim challenging the review process (rather than

its contingent, hypothetical outcomes) as unlawful, they must file a motion for leave to amend

their complaint. The Court will therefore dismiss Count V because it alleges no adverse action as

to which Plaintiffs would plausibly have standing.



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        Count VII fails for largely the same reason. It alleges that Plaintiffs’ First Amendment

expression has been chilled because “Defendants have indicated that they will specifically be

basing adverse action and possible disclosure of names based on what they determine is ‘partisan

intent’ or ‘weaponization.’” ECF 24 ¶¶ 127–29. But a First Amendment plaintiff cannot get into

court simply by alleging that she is subjectively chilled. See Laird v. Tatum, 408 U.S. 1, 13–14

(1972). Instead, she must allege “a specific present objective harm or a threat of specific future

harm.” Id. As the D.C. Circuit has explained, “[a]ll of the Supreme Court cases employing the

concept of ‘chilling effect’ involve situations in which the plaintiff has unquestionably suffered

some concrete harm (past or immediately threatened) apart from the ‘chill’ itself.” United

Presbyterian Church in the U.S.A. v. Reagan, 738 F.2d 1375, 1378 (D.C. Cir. 1984) (“‘Chilling

effect’ is cited as the reason why the government imposition is invalid rather than as the harm

which entitles the plaintiff to challenge it.” (emphases in original)). And here, for all the reasons

explained above, Plaintiffs have not adequately alleged an “immediately threatened” concrete harm

that will befall them. Any future termination or disclosure of the survey results is too hypothetical

and contingent. So, as to Count VII, the only injury Plaintiffs have plausibly alleged is a subjective

chilling effect, and that is insufficient for Article III standing. See id.

        Once again, Plaintiff FBI agents have failed to allege any adverse action that is “imminent”

and “certainly impending.” They therefore lack standing to bring their First Amendment claims,

and the FBIAA lacks associational standing. See Sierra Club, 827 F.3d at 65. And because the Doe

Plaintiffs and the FBIAA allege the same hypothetical, contingent future injuries, the FBIAA

similarly lacks standing to sue in its own right. See PETA, 797 F.3d at 1093. Accordingly, the

Court will grant Defendants’ motion to dismiss Counts V and VII for lack of subject matter

jurisdiction.



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       For the foregoing reasons, the Court GRANTS Defendants’ motion to dismiss, ECF 28,

for lack of subject matter jurisdiction. This case is therefore DISMISSED without prejudice.

Plaintiffs’ motions for temporary restraining order (which the Court previously deferred ruling on

in light of the Parties’ consent order), ECF 3; FBIAA v. DOJ, No. 25-cv-238, ECF 2, and motion

for preliminary injunction, ECF 25, are DENIED as moot because the Court has dismissed the

underlying case.

       A separate order accompanies this memorandum opinion.

       SO ORDERED.



                                                    __________________________
                                                    JIA M. COBB
                                                    United States District Judge

Date: July 17, 2025




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